Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 1 of 29




                      EXHIBIT 3
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 2 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 3 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 4 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 5 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 6 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 7 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 8 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 9 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 10 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 11 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 12 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 13 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 14 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 15 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 16 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 17 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 18 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 19 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 20 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 21 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 22 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 23 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 24 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 25 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 26 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 27 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 28 of 29
Case 1:20-cv-11501-RGS Document 48-3 Filed 05/04/21 Page 29 of 29
